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                                                                       UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                          WHATSAPP INC., et al.,
                                  6                           Plaintiff(s)                      Case No. 19-cv-07123-JSC
                                               v.
                                  7                                                             CONSENT OR DECLINATION
                                          NSO GROUP TECHNOLOGIES LIMITED, et al.,               TO MAGISTRATE JUDGE
                                  8                       Defendant(s).                         JURISDICTION

                                  9

                                  10

                                  11   INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
                                       or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
                                  12   jurisdiction in this matter. Sign this form below your selection.
Northern District of California
 United States District Court




                                  13
                                           ☒ Consent to Magistrate Judge Jurisdiction
                                  14
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
                                  15   United States magistrate judge conduct all further proceedings in this case, including trial and
                                       entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                  16   United States Court of Appeals for the Ninth Circuit.
                                  17
                                                OR
                                  18
                                           ☐ Decline Magistrate Judge Jurisdiction
                                  19
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                  20
                                       magistrate judge conduct all further proceedings in this case and I hereby request that this case
                                  21   be reassigned to a United States district judge.

                                  22
                                        DATE:    December 2, 2019                            NAME:
                                                                                                       Travis LeBlanc
                                  23
                                                                                    COUNSEL FOR
                                  24                                                                   WhatsApp Inc. and Facebook, Inc.
                                                                                    (OR “PRO SE”):

                                  25
                                                                                                       /s/ Travis LeBlanc
                                  26                                                                                    Signature
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